 

 

F“|* L E as 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 1 of 18 Page|D #:1
l

y °" MAR - 7 zuur

MW::“ IN THE UNITED s'l‘ATEs DIsTR:cT oooRT
mu'.‘ Nostsssw r;)]isTR:cT oF ILLINoIs, EAsTERN orvrsl‘ow

ANDY THAYER, )

orcv1290
Plaintiff, JuDGE DARRAH
v. _|ylAG. JuDGE ASHMAN

)
COMMANDER RALPH CHICZEWSKI, UNKNOWN )
POLICE OFFICERS and EMPLOYEES Of tba )
CITY DF CHlCAGO, and the )
the CITY OF CHICAGO, )
)
)

Dofondants. JURY TRIAL DEMANDED

M

NOW COMES Plaintiff, ANDY THAYER, by bis attorneys, LOEVY &
LOEVY, CHARLRS NISSIM-SABAT and JEFFREY FRANK, and CDmplaininq
OF Dsfandants, COMMANDER RALPH CHICZEWSKI, UNKNOWN POLICE
OFFICERS and EMPLDYEES Of the CITY OF CHICAGO, and tbs CITY GF
CHICAGO, states as follows:

Jurisdiction

]… This action is brought pursuant to 42 U.S.C. Saction
1983 to rodrsss the deprivation under color of law of
Plaintiff's rights as secursd by the First, Fourth and
Fourtssnth Amsndmonts of the Unitsd Etatss Constitution. Tbis
Court has jurisdiction under 28 U.S.C. Ssction 1331 and

1367.

 

 

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 2 of 18 Page|D #:2

Venue

2. This action properly lies in the Northern District of
Illinoisr Eastern Division, pursuant to 28 U.S.C. lBBl(b), as
the events giving rise to Plaintiff’s claims occurred in the
City of Chicago in this judicial district.

Fa.c tual Allega t.'i. one

3. Plaintiff Andy Thayer (“Thayer”) is a 88 year-old
resident of Chicago, Illinois. For many years Thayer has been
involved in numerous public rallies, marches, and press
conferences concerning various civil rights and political
issues. For the last four years he has engaged in such actions
to protest the United States government’s war in Irag.

4. ns a result of his political activities, Thayer is
well known to members of the Chicago Police Department,
including Defendant Commander Ralph Chiczewski.

5. On March 20, 2003r the night after the United Etates’
invasion of Irag,r Plaintiff was part of an anti-war
demonstration in Chicago that led to the indiscriminate mass
detention of some 800 citizens and the arrest of more than 500
of those citizens, protesters and non-protesters aliker by the
Chicago Police Department. Not a single person was convicted
after a contested trial. A handful accepted supervision rather
than fight the charges (supervision is not a conviction under

Illinois law). The charges in all of the other cases were

 

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 3 of 18 Page|D #:3

dropped in a manner indicative of the innocence of those charged
of any criminal conduct. Those mass arrests are currently the
subject of a class action lawsuit against the City of Chicago
`now pending in the Northern District of Illinois.

8. Prior to the second anniversary of the United States'
invasion of lrag, Thayer applied for a permit to conduct a march
down Michigan Avenue in the City of Chicago on behalf of a large
anti-war coalition to protest the war in Irag and the erosion of
civil liberties in the United Btates. That permit application
was cursorily rejected by the City of Chicago.

7. Believing that the City of Chicago simply wanted to
prevent any peaceful assembly to protest the Irag war, and
without justification deny Thayer and other protesters their
First Amendment rights based on the content of their speech,
Thayer and other activists organized a press conference to take
place at Noon on March 18, 2005 on the sidewalk at the southwest
corner of Oak Street and Michigan Avenue, the point where the
march would have started if allowed.

8. Press conferences are commonly held on sidewalks and
in other public places in the City of Chicago, including by the
Mayor of the City of Chicago, and a permit is not required to
hold such press conferences.

8. Two days before the press conference, however, one of

the scheduled speakers, Alderman Joe Moore, was informed by a

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 4 of 18 Page|D #:4

Chicago police officer assigned to the City Hall Task Force that
he and others would be arrested if they attempted to hold the
press conference. Alderman Moore therefore decided not to speak
at the press conference.

l0. on the day of the press conference, Thayer attended a
separate protest sponsored by the Gay Liberation Network.

Thayer encountered Commander Chiczewski at that rally, and
Chiczewski threatened Thayer with arrest if Thayer so much as
showed up on Michigan Avenue later that day.

ll. Approximately 200 uniformed officers and glowering
riot gear clad officers with lengthy batons were present at the
site of the press conference, outnumbering those attending.
Other gatherings to protest the war have been met with a similar
police presence, both before and after the subject press
conference, with the intent to intimidate those gathered and
passersby and to have a chilling effect on anyone who sees this
menacing display but is otherwise inclined to participate in
legal, protected activity. Despite the foregoing threat of
arrest for merely peacefully exercising their First Amendment
rights of speech and assembly, and despite the massive police
presence at the site of the press conference, several speakers
nonetheless attended and spoke at the press conference beginning

around Noon.

 

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 5 of 18 Page|D #:5

l2. Those who addressed the crowd, which included media
representatives, were Chris Geovanis, a member of the media and
an anti*war activist, the Rev. Paul Jakes, a civil rights and
police accountability activist, and Bill Massey, a Korean War
veteran and member of the ANSWER Coalition who had marched with
the Rev. Martin Luther King. In his address, Mr. Massey told
the media and the crowd, “We have been threatened with arrest
for holding this press conference. We are holding this press
conference.”

l3. Patricia Vogel and the Rev. Dan Dale heard a Town Hall
District officer, Nenad Mar]~:ovich,r say that the police were
targeting Thayer for arrest that day, and that the police would
“wade into the crowd” to arrest Thayer if necessary.

l4. After the above-named individuals spoke,r Thayer began
to address the crowd. Thayer uttered no more than two sentences
before he was physically grabbed by Commander Chiczewski, placed
under arrest, and taken into custody.

15. At the time of his arrest, Thayer was not given any
order to disperse by Commander Chiczewski or any other police
officer and the police had no basis to arrest Thayer.

l6. As Thayer was being arrested, he put up no resistance
but began to go limp until Commander Chiczewski told him he
would be charged with resisting arrest if he did so. Thayer

immediately ceased going limp and was taken away on his feet.

L.Tl

 

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 6 of 18 Page|D #:6

l?. Thayer was nonetheless charged with resisting arrest.
Thayer was also charged with disorderly conduct.

l8. Thayer was ultimately convicted of disorderly conduct
in the Circuit Court of Cook County, Illinois. He is appealing
his conviction as of the filing of this Complaint.

l8. The disorderly conduct charge for which Thayer was
arrested and convicted, Chicago Municipal Code, MCC8-4-0l0 (the
“Ordinance” - Exhibit l) which, in M008-4-010(d)(“subsection
{d)”), states:

“A person commits disorderly conduct when he knowingly:

[d) Fails to obey a lawful order of dispersal by a person

known by him to be a peace officer under circumstances

where three or more persons are committing acts of

disorderly conduct in the immediate vicinity, which acts

are likely to cause substantial harm or serious

inconvenience, annoyance, or alarm; m..” (emphasis
supplied).

 

Count I
First and Fourteenth Amendments, United States Constitution
Seotions 2, 4 and 5, Illinois Constitution
Uneonstitutionality of Disorderly Condnct ordinance

20. Plaintiff incorporates paragraphs l through l8 above
as his allegations herein.

2l. The City of Chicago's (the City) disorderly conduct
ordinance is unconstitutional, and Thayer's arrest under that

ordinance violated his civil rights under color of state law for

the following reasons:

6

 

' Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 7 of 18 Page|D #:7

A. Subsection (d) impermissibly infringes on the First
Amendment's protection of the rights of speech and
assembly without serving any compelling state
interests:

B. Subsection (d) is impermissibly vague as to what
conduct it forbids so that persons of common
intelligence must necessarily guess at its meaning and
differ as to its application and fails to give persons
fair warning as to what conduct is forbidden;

C. Subsection (d) confers upon third parties a "hecklers'
veto" on protected First Amendment activity, meaning
that the authorities can effectively criminalize
otherwise legal, protected conduct merely because of
the misconduct of third parties, who may intend to
cause the police to disrupt the protected conduct and
arrest those who lawfully exercise their
constitutional rights;

D. Subsection (d) is overbroad in that it is not narrowly
confined to allowable areas of control of citizen's
conduct, but sweeps within its ambit activity
protected by the First Amendment and criminalizes a
refusal to disperse by participants engaged in lawful
speech and assembly and who have not broken the law in

any way;

 

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 8 of 18 Page|D #:8

E. Subsection (d) fails to provide adequate safeguards to
ensure that the authorities do not abuse their
discretion in issuing the order to disperse.

F. Subsection (d) fails to reguire that the authorities
issuing the order to disperse provide those affected a
reasonable opportunity to comply, inform them of how
much time they have to comply, and inform them how far
they must disperse to comply; and

G. 8ubsection (d) fails to specify what acts of
disorderly conduct must be committed by three or more
persons in order to justify an order to disperse.

22. More specifically, aubsection (d)’s prohibition of
"serious inconvenience, annoyance, or alarm" does not promote a
compelling state interest, and Chicago has been on notice of
that fact going as far back as the United 8tates supreme Court’s
decision in Terminielio v. Chicago, 337 U.S. l (1848).

23. in addition, aubsection (d) is analogous to the
Chicago gang-loitering ordinance that was declared
unconstitutional by the United States Supreme Court, which held
that the ordinance was impermissibly vague because it failed to
establish minimal guidelines for law enforcement. Chicago v.
Mbrales, 177 ill.2d 440, 887 N.E.2d 53 (1887), aff’d, 527 U.S.

41 (l888).

Case: 1:O7-Cv-01290 Document #: 1 Filed: 03/07/07 Page 9 of 18 Page|D #:9

24. As a criminal statute, the subject ordinance has a
chilling and a deterrent effect which poses a greater threat to
the freedom of speech and assembly protected by the First
Amendment greatly outweighing any benefit to a legitimate state
interest in regulating citizen's conduct, authorizes and
encourages arbitrary and discriminatory enforcement by its
failure to adequately define a criminal offense, criminalizes a
substantial amount of protected First Amendment activity, and
operates as an unconstitutional form of censorship and prior
restraint on the freedoms provided by the First Amendment and a
deprivation of Due Process under the Fourteenth Amendment.

WHEREFGRE, Plaintiff ANDY THAYER respectfully requests this
Court to declare that the subject ordinance is facially
unconstitutional, to enter preliminary and permanent injunctions
prohibiting its enforcement,r to award Plaintiff his attorneys’
fees and costs, and for any other such relief as this Court
deems appropriate.

COUNT II -- 42 U.S.C. § 1933
First Amendment Retaliation

25. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully
herein.

26. The First Amendment to the United 8tates

 

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 10 of 18 Page|D #:10

Constitution guarantees Plaintiff's rights to publicly assemble
for political purposes and to speak out on matters of public
concern without fear of unjust retaliation.

27. As described more fully in the preceding paragraphs,
Plaintiff engaged in protected assembly and speech on matters of
public concern.

28. In direct retaliation for Plaintiff's exercise of
these protected rights, Defendant Commander Ralph Chiczewski and
other as yet unknown high-ranking police department and City of
Chicago officials, all of whom either had final policymaking
authority or had been delegated with the same, retaliated
against Plaintiff by arresting him with no probable cause to do
so, but solely because Plaintiff had the temerity to engage in
First Amendment activity, as described in the preceding
paragraphsf

29. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference
to the rights of others.

30. As a result of aforesaid unconstitutional
conduct, Plaintiff has suffered monetary damages and mental
anguish, including emotional distress.

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against befendants

tommander RALPH CHICZEWSKI, the as yet UNKNOWN CHICAGO POLICE

10

 

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 11 of 18 Page|D #:11

OFFICERS and CITY GF CHICAGO EMPLGYEHS, and the CITY OF CHICAGO,
to enter a judgment for punitive damages against Defendant
Commander RALPH CHICZEWSKI and thc as yet UNKNOWN CHICAGD FOLICE
OFFICERS and CITY OF CHICAGD EMPLOYEES, to award Plaintiff his
attorneys' fees and costs, and for any other such relief as this
Court deems appropriate.

CDUNT III “- 42 U.S.C. 1953
Censpiraey

31. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully
herein.

32. ss described more fully in the preceding
paragraphsr the Defendant Commander Chiczewski and the as yet
unknown police department and City of Chicago officials,r all of
whom either had, or had been delegated, final policymaking
authority, acting in concert with other known and unknown co-
conspirators, reached an understanding to deprive Plaintiff of
his constitutional rights.

33. Plaintiff was deprived of his Constitutional
rights in the manner described in the preceding paragraphs.

3d. In furtherance of the conspiracy, Defendant Commander
Chiczewski and the as yet unknown police department and City of

Chicago officials committed overt acts and were otherwise

ll

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 12 of 18 Page|D #:12

willful participants in joint activity with state actors acting
under color of law.

35. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference
to the rights of others.

35. As a proximate result of this conspiracy,

Plaintiff has suffered monetary damages and mental anguish,
including emotional distress.

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against Defendants
Commander RALPH CHICZEWSKI, the as yet UNKNOWN CHICAGO POLICE
OE"P"ITCERS and CI'I‘Y C>F CHICAGO EMPLOYEEB, and the Cf]_"l"r' CJE" Cl-IICAGO,
to enter a judgment for punitive damages against Defendant
Cemmander RALPH CHICZEWSKI and the as yet UNKNDWN CHICAGO PoLICE
OFFICERS and CITY GF CHICAGO E.MPLC}YEES, to award Plaintiff his
attorneys' fees and costs, and for any other such relief as this
Court deems appropriate.

Count IV -- 42 U.S-C. 1983
Equal Protection and Due Process

37. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully

herein.

12

 

 

Case: 1:07-cv-O
1290 Document #: 1 Filed: 03/07/07 Page 13 of 18 Page|D #'13

38. ns more fully set forth in the preceding paragraphsr
Thayer was the only one of the four speakers who were arrested
at the scene of the press conference on March 18, 2005.

38. oommander ohiczewski, the as yet unknown police
department and tity of Chicago officials, and the City of
Chicago selectively enforced the disorderly conduct ordinance
against Thayer while failing to enforce the ordinance against
the other, similarly situated speakers.

40. oommander Chiczewski, the as yet unknown police
department and City of thicago officials, and the City of
Chicago targeted Thayer for arrest prior to him even speaking
based on an intent to inhibit Thayer's exercise of his
constitutional rights and out of malice intended to punish
Thayer, who was well known to police due to his long-standing
and persistent political activism, which has earned him the
enmity of the Chicago Police Department and the City of ohicago.

el. Moreover, subsection (d) of the disorderly conduct
ordinance, even if it had been enforced even-handedly in the
subject circumstancesr is impermissibly vague as to what conduct
it forbids so that persons of common intelligence must
necessarily guess at its meaning and differ as to its
application and fails to give persons fair warning as to what

conduct is forbidden.

13

 

 

__

, Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 14 of 18 Page|D #:14

42. sased on the foregoing, Plaintiff was denied his right
to equal protection and due process under the law grounded on
the Fourteenth Amendment of the United states oonstitution.

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against Defendants
Commander RALPH CHICZEWSKT, the as yet UNKNOWN CHICAGO POLICE
OFFICERS and CITY OF CHlCAGO EMPLOYEES, and the CITY OF CHICAGO,
to enter a judgment for punitive damages against Defendant
Commander RALPH CHICZEWsKI and the as yet UNKNGWN CHICAGO POLICE
OFFICERS and CITY OF CHICAGO EMPLOYEES, to award Plaintiff his
attorneys' fees and costs,r and for any other such relief as this
Court deems appropriate.

Count V -- 42 U.S.C. 1983
Menell Cleim

43. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully
herein.

dd. The misconduct described above was undertaken pursuant
to the policy and practice of the City of Chicago and the
Chicago Police Department in that:

a. as a matter of both policy and practice, the City of
shicago directly encourages, and is thereby the moving force
behind, the very type of misconduct at issue here by directly

ordering, supervising and condoning the suppression of First

lJ-i

 

 

 

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 15 of 18 Page|D #:15

Amendment activity within the City of Chioago when that activity
concerns gathering in public to protest the war in Iraq and
speaking out against the war in lraq; and

b. as a matter of widespread practice so prevalent as to
comprise municipal policy, officers of the Chicago Police
Department abuse citizens in a manner similar to that alleged by
Plaintiff, and have done so since the mass arrest of 800 plus
citizens at the very first protest against the lraq war in
Chicago.

45. As a result of the above-described wrongful conduct,
as well as the City of Chicago‘s policy and practice, Plaintiff
has suffered damages, including monetary damages and mental
anguish.

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against Defendant
the CITY 08 CHICAGO, to award Plaintiff his attorneys' fees and
costs, and for any other such relief as this Court deems
appropriate.

COUNT VI ~- Stete Law Claim
Reependeet superior

46. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully
herein.

47. ln committing the acts alleged in the preceding

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 16 of 18 Page|D #:16

paragraphs, Defendant Commander Chiczewski and the as yet
unknown police department and City of Chicago officials were
agents of the City of Chicago, and were acting at all relevant
times within the scope of their employment.

48. Defendant City of Chicago is liable as principal for
all torts committed by its agents.

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against Defendant
the CITY of CHICAGO, to award Plaintiff his attorneys'r fees and
costs, and for any other such relief as this Court deems
appropriate.

CQUNT VII "-' State Law Claim
Indemnification

48. Plaintiff realleges by this reference all of the
foregoing paragraphs of this Complaint as if restated fully
herein.

50. lllinois law provides that public entities are
directed to pay any tort judgment for compensatory damages for
which employees are liable within the scope of their employment
activities.

51. Defendant Commander Chiczewski and the as yet unknown
police department and City of Chicago officials, who all are or
were employees of the City of Chicago, acted within the scope of

their employment in committing the misconduct described herein.

16

 

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 17 of 18 Page|D #:17

WHEREFORE Plaintiff ANDY THAYER respectfully requests this
Court to enter judgment for monetary damages against Defendant
the CITY OF CHlCAGo, to award Plaintiff his attorneys' fees and
costs, and for any other such relief as this Court deems

appropriate.

JURY DEMAND
Plaintiff, ANDY THAYER, hereby demands a trial by jury
pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.

RESPECTFULLY SUEMITTED,

 

J_l: h-"'"`""'" j
Attor#eys forxflaintiff

Arthur Loevy

Jon Loevy

Kurt Feuer

LOEVY & LOEVY

312 North May St
suite 100
Chicago, IL 5060?
(312) 243-5800

17

 

Case: 1:07-CV-01290 Document #: 1 Filed: 03/07/07 Page 18 of 18 Page|D #:18

Charles Nissim-sabat

4747 s. Dorchester evenue
Chicago, IL 80815

(773) 373-2560

Joffrey H. Frank

537 s. Dearborn street, 3m Floor
Chicago, IL 60605

{312) 813-0038

18

